                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division

RAYMOND TIEDE,                            )
                                          )
                  Petitioner,             )
      v.                                  )                 No. 3:19cv589
                                          )
JEFFREY CRAWFORD, et al.,                 )
                                          )
                  Respondents.            )
__________________________________________)

    RESPONDENTS’ RENEWED MOTION TO DISMISS THE PETITION FOR WRIT OF
      HABEAS CORPUS OR, IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT

        Pursuant to the Court’s September 4, 2019 Order (ECF No. 2), and September 17, 2020

Order 1 (ECF No. 14), Respondents, by counsel, pursuant to Federal Rules of Civil Procedure

12(b)(6) and 56(c), move this Court for an Order dismissing Petitioner Raymond Tiede’s Petition

for Writ of Habeas Corpus (ECF No. 1) or, in the alternative, entering summary judgment in

favor of Respondents. In support of this motion, Respondents refer the Court to their Response to

Petition for Writ of Habeas Corpus and Memorandum in Support of Renewed Motion to Dismiss

or, in the Alternative, Motion for Summary Judgment.

        WHEREFORE, Respondents, by counsel and pursuant to Rules 12(b)(6) and 56(c) of the

Federal Rules of Civil Procedure, respectfully request that the Court issue an order dismissing

Petitioner’s Petition for Writ of Habeas Corpus, or, in the alternative, entering summary

judgment in favor of Respondents, and for such other relief as the Court deems just and proper.




1
 The Court’s September 17, 2020 Order denied Respondents original Motions to Dismiss (ECF
No. 3) or, in the alternative, for summary judgment (ECF No. 4), without prejudice to refile
within 40 days from the date of the Order. Sept. 17, 2020 Order (ECF No. 14) at 4.


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Dated: October 27, 2020         Respectfully submitted,

                                G. ZACHARY TERWILLIGER
                                UNITED STATES ATTORNEY

                          By:   /s/
                                Jonathan T. Lucier
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                                Attorney for Respondents
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                                 CERTIFICATE OF SERVICE

       I certify that on October 27, 2020, I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, and served the Petitioner, who is a non-ECF user, by
depositing a true copy of the same in the U.S. mail in a prepaid envelope addressed as follow:

       Raymond Tiede
       AXXXXXXXX
       Farmville Detention Center
       508 Waterworks Road
       Farmville, VA 23901




                                                      /s/
                                                      Jonathan T. Lucier
                                                      VSB No. 81303
                                                      Attorney for Respondents
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